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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF ARIZONA
 8
 9   Keith Canete,                                       No. CV-18-04246-PHX-SMB
10                     Plaintiff,                        ORDER
11   v.
12   Wheels Financial Group LLC,
13                     Defendant.
14
            The Court having received and reviewed the Joint Stipulation of Voluntary
15
16   Dismissal with Prejudice (Doc. 23) and for good cause appearing,

17          IT IS HEREBY ORDERED that the above-captioned matter, including any and
18   all claims therein as to all parties, is dismissed with prejudice, each party to bear their own
19   fees and costs.
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21          Dated this 1st day of April, 2019.

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